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AO 247(Rev.03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page 1 of2(Page 2 Not for Public Disclosure)

                                       United States District Court
                                                                       for the

                                                              District of Montana


                   United States of America
                                  V.                                   • )
                       Cynthia Rae Pruett                                )
                                                                              Case No: CR 23-39.BLG-SPW
                                                                              USMNo: 16177-091
Date of Original Judgment:                           09/22/2023           ^
Date ofPrevious Amended Judgment:                                        )
(Use Date ofLast Amended Judgment ifAny)                                      Defendant's A ttorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C § 3582(c)(2)
         Upon motion of|3 the defendant Q the Director ofthe Bureau ofPrisons Q the court under 18 U.S.C.
§ 3582(c)(2)for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §IB 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a),to the extent that they are applicable,
IT IS ORDERED that the motion is:
         IZIdENIED. n GRANTED and the defendant's previously imposed sentence ofimprisonment(as reflected in
the lastjudgment issued) of                                           months is reduced to
                              (See Page 2for additionalparts. Complete Parts Iand II ofPage 2 when motion is granted)

        Defendant seeks a sentence reduction under the retroactive application to the criminal history rules in Part A of
Amendment 821 to the United States Sentencing Guidelines. (See Doc. 157.) Part A limits the overall criminal history
impact of"status points" for offenders who committed the instant offense while under a criminal justice sentence. See
USSG Ret. App. A & B, Sub. 1 Amendment 821 "Reasons for Amendment"(Nov. 1, 2023). "A defendant is ineligible for
a sentence reduction ifthe relevant amendment does not have the effect of lowering the defendant's applicable guideline
range." United States v. Mercado-Moreno,869 F.3d 942,949(9th Cir. 2017); USSG §1B1.10(a)(2)(B)(2023).
          Here, Defendant's prior convictions resulted in a subtotal criminal history score of nine, and because Defendant
committed the instant offense while under a criminal justice sentence, she received two "status points," resulting in a total
criminal history score of 11. (PSR 47—49.) Although Defendant would only receive one status point under the current
guidelines, a total criminal history score of 10 would still result in a criminal history category of V. See USSG Ch.5, Pt.A,
Sentencing Table(showing that criminal history category V includes all defendants with 10, 11, or 12 total criminal history
points). Therefore, Defendant is ineligible for a sentence reduction because Amendment 821 "does not have the effect of
lowering the defendant's applicable guideline range." Mercado-Moreno,869 F.3d at 949. Because Defendant is ineligible
for a sentence reduction under the retroactive application of Amendment 821, her motion should be denied.

Except as otherwise provided, all provisions of the judgment dated                                         P^hall remain in effect.
IT IS SO ORDERED.


Order Date:
                            ^                                                                        Judge's signature

Effective Date:
                    (ifdifferentfrom order date)                                                 Printed name and title
